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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X                   11/5/2020
                                   :
IN RE EUROPEAN GOVERNMENT BONDS    :    19 Civ. 2601 (VM)
ANTITRUST LITIGATION               :
                                   :         ORDER
                                   :
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VICTOR MARRERO, United States District Judge.

     On August 12, 2020, pursuant to the Court’s July 23,

2020 Decision and Order, Plaintiffs filed a request for leave

to amend their complaint. (Dkt. No. 122.) In response, the

parties met and conferred, and Defendants filed a joint

Stipulation and Proposed Fifth Amended Case Management Order,

which the Court granted on August 26, 2020. (See Dkt. No.

129.)   Under   the   Fifth   Amended    Case   Management       Order,

Plaintiffs had until 45 days after the entry of the Order to

identify in writing any new plaintiffs proposed to be named

in the amended complaint. (Id. ¶ 1.)

     On October 13, 2020, Plaintiffs requested an extension

of time to identify any proposed new plaintiffs. (Dkt. No.

131.) Defendants consented to the request and the Court

granted the extension the following day. (See Dkt. No. 132.)

     By letter dated November 2, 2020, Plaintiffs requested

a second extension of time to identify any proposed new

plaintiffs. (Dkt. No. 133.) This time, Defendants did not

consent to the request.
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     On November 3, 2020, the Court granted the extension.

(Dkt. No. 135.) That same day, Defendants UniCredit Bank AG

and UniCredit Capital Markets LLC (collectively, “UniCredit”)

and Bank of America Merrill Lynch International Designated

Activity Company (“BAML”) filed a letter opposing Plaintiffs’

request. (See Dkt. No. 134.)

     The Court is not persuaded that the extension should be

denied. Indeed, UniCredit and BAML have already agreed to

wait for Plaintiffs to identify proposed new plaintiffs to be

named in an amended complaint. The relatively short extension

of 38 days at issue here would not prejudice UniCredit or

BAML any more than the original 45 days or first extension to

which UniCredit and BAML agreed.

     The   Court   hereby   affirms   its   prior   order,   granting

Plaintiffs’ request for an extension. Plaintiffs shall notify

Defendants of any additional plaintiffs proposed to be named

by December 11, 2020.

SO ORDERED.

Dated:     New York, New York
           5 November 2020
